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                                  UNITED STATES DISTRICT COURT
7
                                WESTERN DISTRICT OF WASHINGTON
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                                                   AT SEATTLE
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     CINDY BALMORES,                                     Case No. 2:24-cv-886
12   JUSTIN BRASWELL,
     DEBORAH GARVIN, and
13   THEA ANDERSON,                                      CLASS ACTION COMPLAINT FOR
     for themselves,
14   as private attorneys general, and                   (1) VIOLATION OF THE
     on behalf of all others similarly situated,             WASHINGTON CONSUMER
15                                                           PROTECTION ACT, RCW 19.86

16                                                       (2) VIOLATION OF THE
                                        Plaintiffs,          FLORIDA DECEPTIVE AND
17                                                           UNFAIR TRADE PRACTICES ACT
     v.
18                                                       (3) BREACH OF THE IMPLIED
     SIRIUS XM RADIO INC.,                                   COVENANT OF GOOD FAITH
19                                                           AND FAIR DEALING
                                                             (PLEADED IN THE ALTERNATIVE)
20                                     Defendant.
21
                                                           JURY TRIAL DEMANDED
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1           Plaintiffs Cindy Balmores, Justin Braswell, Deborah Garvin, and Thea Anderson,
2    individually, as private attorneys general, and on behalf of all others similarly situated, allege
3    as follows, on personal knowledge and investigation of their counsel, against Defendant Sirius
4    XM Radio Inc. (“Sirius XM” or “Defendant”):

5                                 INTRODUCTION AND SUMMARY
6           1.      This action challenges a deceptive pricing scheme whereby Sirius XM falsely
7    advertises its music plans at lower prices than it actually charges. Sirius XM fails to include in
8    its advertised prices the amount of its invented “U.S. Music Royalty Fee,” which increases the
9    true plan price by 21.4% above the advertised price for the plans.1
10          2.      Sirius XM intentionally does not disclose the Fee to its subscribers. Sirius XM
11   even goes so far as to not mention the words “U.S. Music Royalty Fee” in any of its
12   advertising, including in the fine print.
13          3.      Once consumers have been lured to sign up, Sirius XM prevents them from
14   learning about its scheme by never thereafter sending them monthly or ongoing billing notices
15   or invoices. All the while, Sirius XM silently and automatically renews their subscriptions
16   month after month and year after year. And, as the price of its subscribers’ music plans

17   increase—e.g., when a promotional rate expires—the U.S. Music Royalty Fee amount, being a
18   flat 21.4% charge, also increases.

19          4.      Notably, none of Sirius XM’s competitors charge any separate royalty fee over
20   and above their advertised music plan prices. Reasonable consumers would expect that the
21   advertised price for Sirius XM’s music plans would include the fundamental costs of obtaining
22   the permissions necessary to provide the music content that Sirius XM has promised is included
23   in those plans. The U.S. Music Royalty Fee is, in fact, simply a disguised double-charge for the
24   music plan itself.
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      The rate for the U.S. Music Royalty Fee is 21.4% for Sirius XM’s satellite radio music plans
27   (which comprise the overwhelming majority of Sirius XM subscriptions), and 8.8% for Sirius
     XM’s streaming-only music plans (which are internet-only and do not require a satellite radio,
28   and which comprise a tiny minority of Sirius XM subscriptions).
     CLASS ACTION COMPLAINT - 1                                                      HATTIS & LUKACS
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1           5.      Even the name of the U.S. Music Royalty Fee is deceptive. Sirius XM calls it a
2    “U.S.” fee to falsely indicate to consumers (i.e., to those few consumers who learn about its
3    existence) that it is a government-related fee.
4           6.      In the event that a subscriber happens to notice the U.S. Music Royalty Fee has

5    been charged and then contacts Sirius XM to inquire about the Fee, Sirius XM has a practice of
6    outright falsely telling the subscriber that it is “government mandated” or is a government pass-
7    through fee.
8           7.      Sirius XM’s U.S. Music Royalty Fee scheme has been the source of all of Sirius
9    XM’s profits for the past several years. For example, in 2023, Sirius XM collected $1.36 billion
10   in U.S. Music Royalty Fee charges, while the entire company had net profits of $1.26 billion.
11   In other words, in 2023, U.S. Music Royalty Fee revenues were equal to 108% of the net
12   profits for the entire company.2
13          8.      Sirius XM falsely advertised the prices of its music plans to Plaintiffs and Class
14   members, and Sirius XM never adequately disclosed to them that the U.S. Music Royalty Fee
15   would be charged or its true nature. Meanwhile, Sirius XM’s sign-up process, automatic
16   renewal process, and policy of not sending monthly or ongoing billing notices or invoices are

17   deliberately designed to prevent subscribers from learning of the U.S. Music Royalty Fee.
18          9.      Sirius XM automatically charges the U.S. Music Royalty Fee to nearly all of its

19   792,000 Washington state subscribers and 2,262,000 Florida subscribers (the Fee currently
20   accounts for over $31 million in annual charges to Washington state subscribers and over $90
21   million in annual charges to Florida subscribers).3 Since Sirius XM invented and introduced the
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     2
23    In 2023, Sirius XM had subscriber revenues from its SiriusXM-branded service of $6.34
     billion, approximately 21.4% of which (i.e., $1.36 billion) were payments of the U.S. Music
24   Royalty Fee. See 2023 10-K of Sirius XM Holdings Inc., pp. F-5, F-39, available at
     https://investor.siriusxm.com/sec-filings/all-sec-filings/content/0000908937-24-
25   000008/0000908937-24-000008.pdf.
     3
26    Plaintiffs estimate that Sirius XM has approximately 792,000 music plan subscribers in
     Washington state, which would comprise 2.34% of Sirius XM’s 33.9 million subscribers
27   (Washington represents 2.34% of the U.S. population). Plaintiffs estimate that Sirius XM has
     approximately 2,262,000 music plan subscribers in Florida, which would comprise 6.67% of
28   Sirius XM’s 33.9 million subscribers (Florida represents 6.67% of the U.S. population).
     CLASS ACTION COMPLAINT - 2                                                    HATTIS & LUKACS
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1    Fee in 2009, Plaintiffs estimate that Sirius XM has unlawfully extracted over $242 million from
2    Washington consumers and over $690 million from Florida consumers in U.S. Music Royalty
3    Fee charges.
4           10.     Plaintiffs Cindy Balmores, Justin Braswell, Deborah Garvin, and Thea Anderson

5    bring this lawsuit individually and as private attorneys general seeking public injunctive relief
6    to protect the general public by putting an end to Sirius XM’s unlawful advertising scheme.
7    Additionally, all four Plaintiffs bring this lawsuit on behalf of themselves and a class of
8    Washington Sirius XM subscribers, seeking damages and treble damages. Plaintiff Deborah
9    Garvin also brings this lawsuit on behalf of herself and a class of Florida Sirius XM
10   subscribers, seeking damages. In the alternative, Plaintiffs seek damages for breach of the
11   implied covenant of good faith and fair dealing to Plaintiffs and Class members in the amount
12   they paid in U.S. Music Royalty Fees.
13          11.     To be clear, Plaintiffs are not seeking to regulate the existence or amount of the
14   U.S. Music Royalty Fee (although Plaintiffs contend that the name of the Fee is deceptive
15   because Sirius XM intentionally calls it a “U.S.” fee to trick consumers into thinking it is a
16   government-related fee). Rather, Plaintiffs want Sirius XM to include the amount of the so-

17   called U.S. Music Royalty Fee in the music plan prices it advertises to the general public, and
18   to adequately disclose the Fee and its true nature and basis.

19                                            THE PARTIES
20          12.     Plaintiff Cindy Balmores is a citizen and resident of the city of Edmonds, in
21   Snohomish County, Washington.
22          13.     Plaintiff Justin Braswell is a citizen and resident of the city of Spanaway, in
23   Pierce County, Washington.
24          14.     Plaintiff Deborah Garvin has been a citizen and resident of the city of
25   Vancouver, in Clark County, Washington, since 2022. Prior to that, she was a citizen and
26   resident of Florida.
27          15.     Plaintiff Thea Anderson is a citizen and resident of the city of Spokane, in
28   Spokane County, Washington.
     CLASS ACTION COMPLAINT - 3                                                     HATTIS & LUKACS
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1           16.     Defendant Sirius XM Radio Inc. (“Sirius XM”) is a corporation chartered under
2    the laws of Delaware, with its principal place of business in New York.
3                                      JURISDICTION AND VENUE
4           17.     Subject Matter Jurisdiction. This Court has original jurisdiction over this

5    action pursuant to 28 U.S.C. § 1332(d)(2) because the amount in controversy, exclusive of
6    interest and costs, exceeds $5,000,000, and this is a proposed class action in which there are
7    members of the proposed Class who are citizens of a state different from the Defendant.
8           18.     Personal Jurisdiction. This Court has personal jurisdiction over Sirius XM
9    because, without limitation: (1) Sirius XM is authorized to do business and regularly conducts
10   business in the Washington; (2) the claims alleged herein took place in Washington; and/or
11   (3) Sirius XM has committed tortious acts within Washington (as alleged, without limitation,
12   throughout this Complaint). Sirius XM has sufficient minimum contacts with Washington to
13   render the exercise of jurisdiction by this Court permissible.
14          19.     Venue. Venue is proper pursuant to 28 U.S.C. §1391 because Plaintiffs Cindy
15   Balmores, Justin Braswell, and Deborah Garvin are Washington citizens who reside in this
16   District. Additionally, Plaintiffs Cindy Balmores and Justin Braswell purchased their Sirius

17   XM music plans in this District, and Plaintiff Deborah Garvin purchased her most recent Sirius
18   XM music plan in this District.

19       FACTUAL ALLEGATIONS OF SIRIUS XM’S DECEPTIVE PRICING SCHEME
20          20.     Defendant provides Sirius XM-branded satellite radio and streaming plans to
21   approximately 33.9 million consumers nationwide4, including approximately 792,000
22   Washingtonians and 2,262,000 Floridians. Nearly all of the service plans offered by Sirius XM
23   include music channels (“music plans”).
24          21.     Sirius XM falsely advertises its music plans at lower rates than it actually
25   charges by not including in the advertised price the amount of its invented “U.S. Music Royalty
26
     4
27    See 2023 10-K of Sirius XM Holdings Inc., p. 5, available at
     https://investor.siriusxm.com/sec-filings/all-sec-filings/content/0000908937-24-
28   000008/0000908937-24-000008.pdf.
     CLASS ACTION COMPLAINT - 4                                                     HATTIS & LUKACS
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1    Fee.” Sirius XM intentionally does not disclose the extra charge. Sirius XM even goes so far as
2    to not mention the words “U.S. Music Royalty Fee” in any of its advertising, including in the
3    fine print. Once consumers have been lured to sign up, Sirius XM prevents them from learning
4    about its scheme by never thereafter sending them monthly or ongoing billing notices or

5    invoices. All the while, Sirius silently and automatically renews their subscriptions month after
6    month and year after year.
7             22.     Sirius XM imposes the U.S. Music Royalty Fee on all subscribers of its satellite
8    radio music plans (satellite radio subscribers comprise the overwhelming majority of Sirius XM
9    subscribers), at a rate of 21.4% on top of the advertised and promised price of the music plan.
10   Sirius XM also imposes the U.S. Music Royalty Fee on the relatively few subscribers of its
11   Sirius XM-branded internet-only streaming music plans (which do not require a satellite radio),
12   at a rate of 8.8% on top of the advertised and promised price of the music plan.5
13            23.     The overwhelming majority of Sirius XM subscribers utilize Sirius XM’s
14   services in their automobiles. There are approximately 160 million vehicles in operation with
15   Sirius XM radios.6 Sirius XM’s satellite radios are pre-installed in 84% of the over 13 million
16   new automobiles sold each year in the United States.7 All of the 13 million-plus annual buyers

17   of new vehicles are automatically provided a free two- to six-month trial of Sirius XM service.
18   Sirius XM’s satellite radios are also already installed in 51% of the 36 million used

19   automobiles sold each year.8 Many of the buyers of these used vehicles are likewise
20   automatically enrolled in free Sirius XM trials.
21   5
       The only Sirius XM internet-only streaming music plan subscribers who are not charged the
22   U.S. Music Royalty Fee are streaming music subscribers who are signed up and billed through
     the Apple App Store or Google Play Store platforms.
23   6
      See 2023 10-K of Sirius XM Holdings Inc., p. 5, available at
24   https://investor.siriusxm.com/sec-filings/all-sec-filings/content/0000908937-24-
     000008/0000908937-24-000008.pdf.
25   7
       See “Car Market Puts Sirius XM’s 2022 Growth Plans Into The Slow Lane,”
     InsideRadio.com, July 28, 2022, available at https://www.insideradio.com/free/car-market-
26   puts-Sirius XM-s-2022-growth-plans-into-the-slow-lane/article_c577b85c-0ea6-11ed-a4f3-
27   6316ccfafd88.html#:~:text=Its%20receivers%20are%20now%20installed,satellite%20radio%2
     0don't%20bother.
28   8
         Id. See also report on used vehicle market based on data from Cox Automotive, at
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1               24.   Sirius XM’s business model relies on converting these millions of vehicle
2    buyers from free trial users into paid subscribers of automatically renewing music plans.
3               25.   This effort begins with a revenue-sharing arrangement with the leading
4    automakers: Sirius XM pays over $1 billion a year in subsidies and revenue splits to the

5    automakers.9 Pursuant to this revenue sharing arrangement, automotive dealerships submit the
6    contact information of their recent car buyers directly to Sirius XM’s marketing department.
7    The automakers and auto dealers then get a cut of the Sirius XM subscription revenue that
8    results.
9               26.   After receiving the contact information of the vehicle buyers, Sirius XM
10   proceeds to inundate them with marketing emails, direct mailers, and telemarketing calls in an
11   attempt to get the consumers to provide their credit or debit card information to Sirius XM so
12   that Sirius XM can sign them up for paid—and automatically renewing—music plan
13   subscriptions.
14              A.    The U.S. Music Royalty Fee.
15              27.   The U.S. Music Royalty Fee is an additional flat charge that Sirius XM collects
16   from its music plan subscribers over and above the advertised and promised prices of its music

17   plans. The overwhelming majority of Sirius XM customers subscribe to its satellite radio music
18   plans (which require a satellite radio, and are typically attached to a particular vehicle equipped

19   with a Sirius XM satellite radio). Sirius XM charges its satellite radio music plan subscribers a
20   21.4% U.S. Music Royalty Fee on top of the advertised and promised price of the music plan.
21              28.   In 2019, Sirius XM introduced a separate streaming-only music plan option,
22   which worked over the internet and did not utilize or require a satellite radio. A very tiny
23
24   https://www.autonews.com/used-cars/used-car-volume-hits-lowest-mark-nearly-
     decade#:~:text=The%20number%20of%20used%20cars,about%2035.8%20million%20were%
25   20sold.
     9
26     For example, in 2016, Sirius XM paid about $1 billion a year in subsidies and revenue splits
     to automakers. See Sisario, Ben, “Sirius XM Fights to Dominate the Dashboard of the
27   Connected Car,” New York Times, February 20, 2016 (behind pay wall at
     https://www.nytimes.com/2016/02/21/business/media/Sirius XM-fights-to-dominate-the-
28   dashboard-of-the-connected-car.html).
     CLASS ACTION COMPLAINT - 6                                                     HATTIS & LUKACS
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1    minority of Sirius XM customers subscribe to such an internet streaming-only music plan.
2    Sirius XM charges its (few) internet streaming-only music plan subscribers an 8.8% U.S. Music
3    Royalty Fee on top of the advertised and promised price of the streaming music plan.
4           29.     Sirius XM invented and first added the U.S. Music Royalty Fee to its music

5    plans in 2009, at a 13.9% flat rate charge. Since then Sirius XM has increased the Fee to the
6    current 21.4% rate.
7           30.     Sirius XM’s U.S. Music Royalty Fee scheme has been the source of all of Sirius
8    XM’s profits for the past several years. For example, in 2023, Sirius XM collected $1.36 billion
9    in U.S. Music Royalty Fee charges, while the entire company had net profits of $1.26 billion.
10   In other words, in 2023, U.S. Music Royalty Fee revenues were equal to 108% of the net
11   profits for the entire company.10
12          31.     The U.S. Music Royalty Fee scheme is at the heart of Sirius XM’s marketing
13   plan. The scheme enables Sirius XM to falsely advertise its music plans at much lower prices
14   than what Sirius XM actually charges, in order to lure as many consumers as possible into
15   signing up for automatically renewing subscriptions and paying more than they otherwise
16   would have paid.

17          32.     Meanwhile, Sirius XM is alone in charging such a fee. None of Sirius XM’s
18   major music streaming competitors (for example, Apple Music, Spotify, Amazon Music,

19   Google Play Music) charge any such separate music royalty fee over and above their advertised
20   music plan prices. Reasonable consumers would expect that the advertised price for Sirius
21   XM’s music plans would include the fundamental cost of obtaining the permissions necessary
22   to provide the music content that Sirius XM has promised is included in those plans. The U.S.
23   Music Royalty Fee is, in fact, simply a disguised double-charge for the music plan itself.
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26      In 2023, Sirius XM had subscriber revenues from its Sirius XM-branded service of $6.34
     billion, approximately 21.4% of which (i.e., $1.36 billion) were payments of the U.S. Music
27   Royalty Fee. See 2023 10-K of Sirius XM Holdings Inc., pp. F-5, F-39, available at
     https://investor.siriusxm.com/sec-filings/all-sec-filings/content/0000908937-24-
28   000008/0000908937-24-000008.pdf.
     CLASS ACTION COMPLAINT - 7                                                    HATTIS & LUKACS
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1           33.     Sirius XM automatically charges the U.S. Music Royalty Fee to nearly all of its
2    792,000 Washington state subscribers and 2,262,000 Florida subscribers (the Fee currently
3    accounts for over $31 million in annual charges to Washington state subscribers and over $90
4    million in annual charges to Florida subscribers). Since Sirius XM invented and introduced the

5    Fee in 2009, Plaintiffs estimate that Sirius XM has unlawfully extracted over $242 million from
6    Washington consumers and over $691 million from Florida consumers in U.S. Music Royalty
7    Fee charges.
8
            B.      Sirius XM Misrepresents the Price of Its Music Plans in Its
9                   Advertisements and Fails to Disclose the U.S. Music Royalty Fee.

10          34.     Sirius XM advertises its satellite radio and streaming music plans through
11   marketing directed at the consuming public in Washington and Florida and throughout the
12   United States via email campaigns, direct mail campaigns, telemarketing campaigns, internet
13   advertising, television advertising, and radio advertising. Meanwhile, the tens of millions of
14   automobiles which are equipped with a Sirius XM satellite radio, but which do not have an
15   active trial or a current paid subscription, will constantly prompt the consumer to subscribe to
16   Sirius XM anytime the consumer switches the car audio system to the Sirius XM radio setting.

17          35.     Through all of these channels, Sirius XM prominently and misleadingly
18   advertises particular flat monthly or periodic prices for its music plans, without disclosing or

19   including the amount of the U.S. Music Royalty Fee in the advertised price.
20          36.     None of Sirius XM’s advertisements states the true music plan price after adding
21   the amount of the U.S. Music Royalty Fee. None of Sirius XM’s advertisements names or
22   mentions the existence of the U.S. Music Royalty Fee or its amount—not even in the fine print.
23   And there is no asterisk adjacent to the (deceptively low) advertised price in any of Sirius XM’s
24   advertisements or materials.
25          37.     Meanwhile, none of Sirius XM’s competitors charge any separate royalty fee
26   over and above the advertised music plan price. Sirius XM knows that reasonable consumers
27   would not expect Sirius XM to charge the U.S. Music Royalty Fee, which is really just a
28   disguised double-charge for the service itself.
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1           38.    Example Promotional Mailer. Below is an example of a marketing direct
2    mailer sent by Sirius XM in December 2022 to a consumer who was in a Sirius XM free trial
3    that automatically came with a new vehicle:
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           Sirius XM Promotional Mailer to Consumer in Free Trial With New Vehicle
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     CLASS ACTION COMPLAINT - 9                                               HATTIS & LUKACS
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1           39.     The above mailer is a typical example of the millions of promotional mailers
2    that Sirius XM sends to new vehicle purchasers each year. Notably, the top right of the ad
3    features “Get 12 Months for $5/Month,” but makes no mention of the U.S. Music Royalty Fee
4    or the extra 21.4% (i.e., the extra $1.07) that the plan actually costs due to the Fee. There is no

5    asterisk next to the advertised price. Nowhere in the entire mailer—not even in the fine print at
6    the bottom—is there any mention whatsoever of the U.S. Music Royalty Fee or its amount. The
7    only disclosure language in the entire mailer is the phrase “Fees and taxes apply,” which is in
8    small print in the circle on the left of the ad, where it also says, “See Offer Details below.”
9           40.     But the “Offer Details” (which can be found in the fine print at the bottom of the
10   mailer) likewise only states the same phrase “Fees and taxes apply,” with no further details. It
11   does not mention the U.S. Music Royalty Fee by name or what the additional “Fees and taxes”
12   are or their amounts. The “Offer Details” fine print states that the plan will renew after the 12-
13   month promotion “at then-current rates (currently, $17.99)”—but again does not disclose that
14   the actual rate the plan will be renewed at is 21.4% higher (at a true rate of $21.84) due to the
15   U.S. Music Royalty Fee. Nor does the mailer mention that, as the music plan rate increases
16   from $5 to $17.99, the (undisclosed) Fee will more than triple from $1.07 to $3.85.11

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        The intentional nature of Sirius XM’s misrepresentations and omissions are further
25   evidenced by the fact that while the United States company Sirius XM Radio Inc. (the
     Defendant) made the decision to completely avoid mentioning the name of the U.S. Music
26   Royalty Fee or its amount in any of its advertising, the company’s Canadian sister company,
     Sirius XM Canada Inc., chose a different, more honest approach. Sirius XM Canada Inc.
27   (unlike Defendant) discloses both the name of the fee (which in Canada is called the “Music
     Royalty and Administrative Fee”) and its percentage amount in the “Offer Details” fine print of
28   its otherwise identical ads.
     CLASS ACTION COMPLAINT - 10                                                     HATTIS & LUKACS
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1           41.      Example Marketing Email. Below is an example of a marketing email sent by
2    Sirius XM in February 2023 to a consumer whose free Sirius XM trial elapsed (the free trial
3    came with the purchase of a new vehicle):
4                 Sirius XM Promotional Email to Consumer Whose Free Trial Elapsed

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25          42.      The above email is a typical example of the millions of emails Sirius XM sends
26   to purchasers of new automobiles who are in an automatic free trial of Sirius XM or whose trial
27   has elapsed. Notably, the email states the price is “JUST $5/MO,” but makes no mention of the
28   U.S. Music Royalty Fee or the extra 21.4% (i.e., the extra $1.07) that the plan actually costs
     CLASS ACTION COMPLAINT - 11                                                   HATTIS & LUKACS
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1    due to the Fee. There is no asterisk next to the advertised price, and in fact nowhere in the
2    entire email—not even in the fine print at the bottom—is there any mention whatsoever of the
3    U.S. Music Royalty Fee or its amount. There is a phrase “See Offer Details,” but there is no
4    “Offer Details” section in the email. It turns out that the white “Offer Details” text is a non-

5    obvious hyperlink (with no hyperlink indicators). If the consumer figured out to click on the
6    “Offer Details” text on the email, the consumer would be brought to the webpage below:
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     CLASS ACTION COMPLAINT - 12                                                     HATTIS & LUKACS
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1           43.     This offer/disclaimer webpage features “$5/mo for 12 months,” but makes no
2    mention of the U.S. Music Royalty Fee or the extra 21.4% (i.e., the extra $1.07) which the plan
3    actually costs due to the Fee. Below the prominent text “$5/mo for 12 months,” smaller text
4    reads “Then $18.99/mo. Fees & taxes apply. See Offer Details below.”

5           44.     But the fine print “Offer Details” at the bottom of the webpage states only the
6    same phrase “Fees and Taxes apply,” with no further details. It does not mention the U.S.
7    Music Royalty Fee by name or what the additional “Fees and Taxes” are or their amounts. It
8    also fails to mention that the renewal rate will not be the promised “$18.99/mo.” but rather will
9    be 21.4% higher—where the undisclosed Fee will increase nearly four-fold to $4.06—for an
10   actual total of $23.05 per month.
11
            C.      Sirius XM Fails to Disclose the U.S. Music Royalty Fee to Consumers
12                  When They Sign Up on Its Website.

13          45.     For years, Sirius XM’s consumer website has advertised its music plans by
14   featuring particular flat monthly or periodic prices for the plans, without disclosing or including
15   the amount of the U.S. Music Royalty Fee in the advertised price.
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1           46.     For example, in May 2023, Sirius XM’s website listed the following music plans
2    (on the “Browse Plans and Pricing” webpage).
3                            Music Plans Offered on the Sirius XM Website
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22          47.     All of these options (including both the 3-month promotional $1 price, and the
23   stated higher prices after the 3 months) are presented as having a flat rate. The prices exclude
24   the additional 21.4% charge for the U.S. Music Royalty Fee. The prices do not have asterisks
25   and the only disclosure language is on the left side, where smaller print says, “Plus fees and
26   taxes See Offer Details Below.” But the “Offer Details” at the bottom of the webpage (which
27   follows a section of “Frequently Asked Questions” that likewise makes no mention of the Fee),
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1    states only the same phrase “Fees and taxes apply.” It does not mention the U.S. Music Royalty
2    Fee by name or what the additional “Fees and taxes” are or their amounts.
3           48.     If the consumer clicks on the blue “GET” button for the respective music plan,
4    the consumer is taken through Sirius XM’s online purchase process. Each page of the purchase

5    process features “$1 for 3 months” on the top, and smaller text stating the higher price after the
6    3 months (e.g., “Then 23.99/mo.”).
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1           49.     Below is the final page of the online purchase process (i.e., the order
2    submission page) for the Platinum music plan. This final page is the only page of the entire
3    online purchase process which lists a specific additional amount for “Fees and Taxes.”
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1           50.    Under “Order Summary,” Sirius XM shows a price of $1.00 for 3 months of the
2    music plan ($0.33/mo), plus “Fees and Taxes” of $0.21.
3           51.    Notably, counsel’s investigation showed that all Sirius XM music plans
4    (including this one) sold in Washington have $0.00 in “Taxes.” And the only “Fee” Sirius XM

5    ever charges in Washington is the undisclosed 21.4% U.S. Music Royalty Fee. Sirius XM
6    disguises the amount of its invented and deceptive U.S. Music Royalty Fee as “Fees and
7    Taxes.” Yet in reality, the U.S. Music Royalty Fee is the sole and exclusive component of the
8    so-called “Fees and Taxes.”
9           52.    In this example, the $0.21 in “Fees and Taxes” is comprised entirely of the
10   unmentioned 21.4% U.S. Music Royalty Fee (i.e., $0.21 = 21.4% of the $1.00 plan price).
11   Similarly, when the promotional rate of “$1.00 for 3 months” expires and the subscriber’s
12   monthly rate automatically increases to the stated “$23.99/mo.,” the U.S. Music Royalty Fee
13   comprises the entire amount of the additional “Fees and Taxes” of $5.13 per month.
14          53.    Sirius XM knows and intends that reasonable consumers will understand and
15   assume that the amount listed as “Fees and Taxes” is comprised of legitimate taxes and
16   government-related fees passed on by Sirius XM to its subscribers. Sirius XM knows and

17   intends that reasonable consumers would not expect that Sirius XM—unlike every other music
18   streaming service—would invent and charge the so-called “U.S. Music Royalty Fee” over and

19   above the advertised price for the music plan. And Sirius XM knows that consumers certainly
20   would not expect such a charge to be disguised as “Fees and Taxes.”
21
            D.     Sirius XM Fails to Disclose the U.S. Music Royalty Fee to Consumers
22                 When They Sign Up Over the Phone.

23          54.    Likewise, Sirius XM sales and customer service agents have been trained for
24   years, as a matter of company policy, to present consumers with advertised flat monthly or
25   periodic prices for its music plans without disclosing the U.S. Music Royalty Fee. The music
26   plan prices that agents quote to consumers—just like Sirius XM’s advertising—exclude the
27   cost of the U.S. Music Royalty Fee.
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1           55.     Sirius XM knows that reasonable consumers would expect that the advertised
2    and quoted price for Sirius XM’s music plans would include the fundamental costs of obtaining
3    the permissions necessary to provide the music content that Sirius XM has promised is included
4    in those plans. The U.S. Music Royalty Fee is, in fact, simply a disguised double-charge for the

5    music plan itself.
6           56.     Sirius XM’s U.S. Music Royalty Fee scheme enables Sirius XM to falsely
7    advertise and present its music plans at much lower prices than what Sirius XM actually
8    charges, in order to lure as many consumers as possible into signing up for automatically
9    renewing subscriptions and paying more than they otherwise would have paid.
10          E.      In Order to Prevent Subscribers From Learning of Its Scheme, Sirius XM
                    Signs Up Subscribers for Auto-Renewal by Default and Then Never Sends
11                  Them Monthly or Ongoing Billing Notices or Invoices.
12          57.     Sirius XM’s automatic renewal and billing process are designed to prevent its
13   subscribers from learning of its U.S. Music Royalty Fee scheme. Sirius XM signs up
14   subscribers for automatic renewal by default (most subscribers have monthly plans, but Sirius
15   XM also offers quarterly, semi-annual, and longer plans).
16          58.     Once consumers have been lured to sign up, Sirius XM prevents them from

17   learning about its scheme by never thereafter sending them monthly or ongoing billing notices
18   or invoices. All the while, Sirius XM silently and automatically renews their subscriptions

19   month after month and year after year
20          59.     Most Sirius XM subscribers initially sign up with Sirius XM by providing their
21   credit card or debit card for a free multi-month trial or for a multi-month greatly discounted
22   promotional rate. The only evidence of the ongoing monthly (or other subscription term)
23   charges by Sirius XM that a subscriber may find is on his or her bank or credit card billing
24   statement—which only lists a dollar amount and makes no mention of the U.S. Music Royalty
25   Fee.
26          60.     It is telling that while Sirius XM intentionally sends zero monthly or ongoing
27   billing notices or invoices to its subscribers, Sirius XM meanwhile makes sure to inundate and
28   benumb these same subscribers with marketing emails nearly every other day (totaling over a
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1    dozen each month), such that subscribers come to assume that any emails they receive from
2    Sirius XM are marketing or promotional emails.
3           F.      Sirius XM Continues to Deceive Subscribers After They Sign Up.
4           61.     Sirius XM continues to deceive subscribers about the true price of its music

5    plans and about the existence and nature of the U.S. Music Royalty Fee, even after they have
6    signed up.
7           62.     As discussed above, once consumers have been lured to sign up, Sirius XM
8    prevents them from learning about its scheme by never thereafter sending them monthly or
9    ongoing billing notices or invoices.
10          63.     But even if a subscriber discovered the existence of the U.S. Music Royalty Fee,
11   Sirius XM has taken actions and implemented policies to intentionally mislead the subscriber
12   into thinking it is “government mandated” or is a government pass-through fee.
13          64.     First, Sirius XM intentionally chose a name for the Fee that suggests it is a
14   government fee. Sirius XM calls it a “U.S.” fee to falsely indicate to consumers (i.e., to those
15   few subscribers who learn about its existence) that it is government mandated or is a
16   government pass-through fee.

17          65.     Second, in the event that a subscriber contacts Sirius XM to inquire about the
18   Fee, Sirius XM agents outright falsely tell the subscriber that the Fee is “government

19   mandated” or is a government pass-through fee.
20          66.     For example, below is a screenshot of part of an online chat conversation that a
21   subscriber had with Sirius XM on March 10, 2023, where the Sirius XM agent falsely told the
22   subscriber that the U.S. Music Royalty Fee was “government mandated”:
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15          67.     The chat agent’s statement that the U.S. Music Royalty Fee was “government
16   mandated” reflects Sirius XM’s policy of falsely telling subscribers who ask about the Fee that

17   it is government mandated or is a government pass-through fee.
18                            PLAINTIFFS’ FACTUAL ALLEGATIONS

19   Plaintiff Cindy Balmores
20          68.     Plaintiff Cindy Balmores is, and at all relevant times has been, a citizen and
21   resident of the city of Edmonds, in Snohomish County, Washington.
22          69.     In October 2018, Ms. Balmores purchased a car that came with a free Sirius XM
23   music plan trial subscription.
24          70.     In April 2019, after the free trial had ended, Ms. Balmores received a
25   promotional email from Sirius XM in which Sirius XM was offering a promotional price of $99
26   for a one-year music plan subscription. Ms. Balmores called Sirius XM to ask about the
27   promotional offer and to learn more about Sirius XM’s other music plans and prices. The agent
28   that she spoke with confirmed that Sirius XM was offering a promotional price of $99 for a
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1    one-year music plan subscription. The agent quoted her the specific price of $99 for the one-
2    year music plan subscription. The music plan’s price of $99 did not include the cost of the U.S.
3    Music Royalty Fee. The agent also did not mention the existence of the U.S. Music Royalty
4    Fee.

5           71.     Relying on the representations of the Sirius XM agent, Ms. Balmores purchased
6    the music plan subscription.
7           72.     Near the end of her one-year subscription, Ms. Balmores called Sirius XM and
8    told the agent that she spoke with that she wanted the same promotional offer as before—$99
9    for a one-year music plan subscription. The agent agreed to give her the same promotional
10   offer. The agent quoted her the specific price of $99 for the one-year music plan subscription.
11   The music plan’s price of $99 did not include the cost of the U.S. Music Royalty Fee. The
12   agent also did not mention the existence of the U.S. Music Royalty Fee.
13          73.     Relying on the representations of the Sirius XM agent, Ms. Balmores purchased
14   the music plan subscription.
15          74.     Near the end of this second one-year subscription, Ms. Balmores called Sirius
16   XM to ask for the same promotional offer. And, once again, the agent agreed to give her the

17   same promotional offer. The agent quoted her the specific price of $99 for the one-year music
18   plan subscription. The music plan’s price of $99 did not include the cost of the U.S. Music

19   Royalty Fee. The agent also did not mention the existence of the U.S. Music Royalty Fee.
20          75.     Relying on the representations of the Sirius XM agent, Ms. Balmores purchased
21   the music plan subscription.
22          76.     Near the end of this third one-year subscription, Ms. Balmores called Sirius XM
23   to ask for the same promotional offer. This time, however, the agent that she spoke with told
24   her that Sirius XM was no longer offering this one-year music plan subscription promotion.
25   Instead, the agent quoted her a specific monthly price for the music plan that she wanted. The
26   quoted price for the music plan did not include the cost of the U.S. Music Royalty Fee. The
27   agent also did not mention the existence of the U.S. Music Royalty Fee.
28
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1           77.     Relying on the representations of the Sirius XM agent, Ms. Balmores purchased
2    the music plan subscription.
3           78.     A few months later, Ms. Balmores canceled her Sirius XM subscription.
4           79.     In March 2024, Ms. Balmores received a Sirius XM advertisement in which

5    Sirius XM was offering a promotional price of $5 a month for six months for one of Sirius
6    XM’s music plans. Ms. Balmores called Sirius XM to ask about the promotional offer. The
7    agent that she spoke with confirmed that Sirius XM was offering this promotion. The agent
8    quoted her the specific price of $5 a month for the music plan. The music plan’s price of $5 did
9    not include the cost of the U.S. Music Royalty Fee. The agent also did not mention the
10   existence of the U.S. Music Royalty Fee.
11          80.     Relying on the representations of the Sirius XM agent, Ms. Balmores purchased
12   the music plan subscription.
13          81.     Since Ms. Balmores signed up, Sirius XM has never emailed or mailed her a
14   single monthly billing notice or invoice.
15          82.     Meanwhile, each and every month, Sirius XM inundated Ms. Balmores’ email
16   inbox with a dozen or so marketing and promotional emails. None of these marketing emails

17   made any mention whatsoever of the existence of the U.S. Music Royalty Fee.
18          83.     Each time that Ms. Balmores signed up for a Sirius XM music plan, she was

19   relying on Sirius XM’s explicit representations regarding the monthly price of the music plan.
20   Ms. Balmores did not expect (and she was never told) that Sirius XM would actually charge her
21   an additional music plan charge on top of the advertised and quoted music plan price in the
22   form of a so-called U.S. Music Royalty Fee or that the true price of the music plan would
23   include the additional cost of the U.S. Music Royalty Fee. That information would have been
24   material to her. Had she known that information she would not have been willing to pay as
25   much for her music plans and would have acted differently.
26          84.     Ms. Balmores has a legal right to rely now, and in the future, on the truthfulness
27   and accuracy of Sirius XM’s representations and advertisements regarding its music plan
28
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1    prices. Ms. Balmores believes that she was given the services Sirius XM promised her—just
2    not at the prices Sirius XM promised and advertised to her.
3            85.     Ms. Balmores remains a Sirius XM subscriber as of this filing. Ms. Balmores
4    desires to sign up for Sirius XM music plans in the future. However, Ms. Balmores wants to be

5    confident that the advertised and quoted price for Sirius XM’s music plans is the true and full
6    price for the plan (i.e., that it includes all applicable discretionary monthly service charges such
7    as the U.S. Music Royalty Fee). And, if Sirius XM introduces any new or invented
8    discretionary monthly service charge (like it did with the U.S. Music Royalty Fee),
9    Ms. Balmores wants to be confident that Sirius XM will include the amount of that service
10   charge in the advertised and quoted music plan price. Ms. Balmores will be harmed if, in the
11   future, she is left to guess as to whether Sirius XM’s representations are accurate and whether
12   there are omissions of material facts regarding the music plans being advertised and
13   represented to her.
14           86.     Ms. Balmores first learned of Sirius XM’s U.S. Music Royalty Fee scheme on
15   February 15, 2023, when she saw a legal investigation advertisement on TopClassActions.com
16   discussing the scheme. Prior to reading the advertisement, Ms. Balmores did not know or

17   suspect that Sirius XM was secretly adding an additional music plan charge above the quoted
18   rate in the form of the U.S. Music Royalty Fee. Ms. Balmores completed and submitted a form

19   on the investigation webpage that same day, February 15, 2023, to learn if she qualified to be
20   part of the legal actions.
21           87.     On March 22, 2023, Ms. Balmores sent Sirius XM a notice of dispute regarding
22   her claims concerning Sirius XM’s deceptive pricing and the U.S. Music Royalty Fee. Sirius
23   XM made no effort to resolve the dispute.
24           88.     On June 5, 2023, Ms. Balmores filed a demand for arbitration against Sirius XM
25   with the American Arbitration Association (“AAA”).
26           89.     Ms. Balmores paid all arbitration fees associated with her demand for arbitration
27   that the AAA asked her to pay.
28
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1            90.     The AAA then asked Sirius XM to pay its required arbitration fees by August
2    28, 2023.
3            91.     On August 7, 2023, Sirius XM wrote a letter to the AAA stating that it would
4    not pay its arbitration fees.

5            92.     On September 6, 2023, the AAA administratively closed Ms. Balmores’ case
6    due to Sirius XM’s failure to pay its required arbitration fees.
7    Plaintiff Justin Braswell
8            93.     Plaintiff Justin Braswell is, and at all relevant times has been, a citizen and
9    resident of the city of Spanaway, in Pierce County, Washington.
10           94.     In June 2011, Mr. Braswell visited Sirius XM’s website to learn about Sirius
11   XM’s music plans and prices. After reviewing Sirius XM’s music plans and prices, Mr.
12   Braswell selected a plan and went through the online purchase process. Throughout the online
13   purchase process, Sirius XM advertised and promised a specific monthly price for the music
14   plan subscription. That price did not include the amount of the U.S. Music Royalty Fee. None
15   of the webpages made any reference to the U.S. Music Royalty Fee or its amount. Based on
16   these representations, Mr. Braswell entered his credit card information and submitted his order

17   on the Sirius XM website.
18           95.     At no point was Mr. Braswell aware that Sirius XM would bill him any

19   additional monthly music plan charges above the specific monthly price that was advertised
20   and promised to him. At no point did Mr. Braswell view any mention of the existence of the
21   U.S. Music Royalty Fee or its amount.
22           96.     After Mr. Braswell signed up, Sirius XM never emailed or mailed him a single
23   monthly billing notice or invoice.
24           97.     In 2013, Mr. Braswell bought a car that automatically came with a free Sirius
25   XM trial subscription.
26           98.     After the free trial subscription for the car expired, Mr. Braswell visited Sirius
27   XM’s website to learn about the Sirius XM music plan offers then available for the car. Based
28   on the advertisements and prices presented to him, Mr. Braswell selected a plan and went
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1    through the online purchase process. Throughout the online purchase process, Sirius XM
2    advertised and promised a specific monthly price for the music plan. That price did not include
3    the amount of the U.S. Music Royalty Fee. None of the webpages made any reference to the
4    U.S. Music Royalty Fee or its amount. Based on these representations, Mr. Braswell submitted

5    his order on Sirius XM’s website.
6           99.     At no point was Mr. Braswell aware that Sirius XM would bill him any
7    additional monthly music plan charges above the specific monthly price that was advertised
8    and promised to him. At no point did Mr. Braswell view any mention of the existence of the
9    U.S. Music Royalty Fee or its amount.
10          100.    After Mr. Braswell signed up, Sirius XM never emailed or mailed him a single
11   monthly billing notice or invoice.
12          101.    In 2022, Mr. Braswell bought another car that automatically came with a free
13   Sirius XM trial subscription.
14          102.    After the free trial subscription for the car expired, Mr. Braswell visited Sirius
15   XM’s website to learn about the Sirius XM music plan offers then available for the car. Based
16   on the advertisements and prices presented to him, Mr. Braswell selected a plan and went

17   through the online purchase process. Throughout the online purchase process, Sirius XM
18   advertised and promised a specific monthly price for the music plan. That price did not include

19   the amount of the U.S. Music Royalty Fee. None of the webpages made any reference to the
20   U.S. Music Royalty Fee or its amount. Based on these representations, Mr. Braswell submitted
21   his order on Sirius XM’s website.
22          103.    At no point was Mr. Braswell aware that Sirius XM would bill him any
23   additional monthly music plan charges above the specific monthly price that was advertised
24   and promised to him. At no point did Mr. Braswell view any mention of the existence of the
25   U.S. Music Royalty Fee or its amount.
26          104.    After Mr. Braswell signed up, Sirius XM never emailed or mailed him a single
27   monthly billing notice or invoice.
28
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1              105.   Each time that Mr. Braswell signed up for a Sirius XM music plan, he was
2    relying on Sirius XM’s explicit representations regarding the monthly price of the music plan.
3    Mr. Braswell did not expect (and he was never told) that Sirius XM would actually charge him
4    an additional music plan charge on top of the advertised and quoted music plan price in the

5    form of a so-called U.S. Music Royalty Fee or that the true price of the music plan would
6    include the additional cost of the U.S. Music Royalty Fee. That information would have been
7    material to him. Had he known that information he would not have been willing to pay as much
8    for his music plans and would have acted differently.
9              106.   Mr. Braswell has a legal right to rely now, and in the future, on the truthfulness
10   and accuracy of Sirius XM’s representations and advertisements regarding its music plan
11   prices.
12             107.   Mr. Braswell remains a Sirius XM subscriber as of this filing. Mr. Braswell
13   desires to sign up for Sirius XM music plans in the future. However, Mr. Braswell wants to be
14   confident that the advertised and quoted price for Sirius XM’s music plans is the true and full
15   price for the plan (i.e., that it includes all applicable discretionary monthly service charges such
16   as the U.S. Music Royalty Fee). And, if Sirius XM introduces any new or invented

17   discretionary monthly service charge (like it did with the U.S. Music Royalty Fee), Mr.
18   Braswell wants to be confident that Sirius XM will include the amount of that service charge in

19   the advertised and quoted music plan price. Mr. Braswell will be harmed if, in the future, he is
20   left to guess as to whether Sirius XM’s representations are accurate and whether there are
21   omissions of material facts regarding the music plans being advertised and represented to him.
22             108.   Mr. Braswell first learned of Sirius XM’s U.S. Music Royalty Fee scheme on
23   May 9, 2023, when he saw a legal investigation advertisement on TopClassActions.com
24   discussing the scheme. Prior to reading the advertisement, Mr. Braswell did not know or
25   suspect that Sirius XM had been secretly adding an additional music plan charge above the
26   quoted rate in the form of the U.S. Music Royalty Fee. Mr. Braswell completed and submitted a
27   form on the investigation webpage that same day, May 9, 2023, to learn if he qualified to be
28   part of the legal actions.
     CLASS ACTION COMPLAINT - 26                                                      HATTIS & LUKACS
                                                                                    11711 SE 8th Street, Suite 120
                                                                                        Bellevue, WA 98005
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1            109.    On June 1, 2023, Mr. Braswell sent Sirius XM a notice of dispute regarding his
2    claims concerning Sirius XM’s deceptive pricing and the U.S. Music Royalty Fee. Sirius XM
3    made no effort to resolve the dispute.
4            110.    On August 6, 2023, Mr. Braswell filed a demand for arbitration against Sirius

5    XM with the American Arbitration Association (“AAA”).
6            111.    Mr. Braswell paid all arbitration fees associated with his demand for arbitration
7    that the AAA asked him to pay.
8            112.    The AAA then asked Sirius XM to pay its required arbitration fees by
9    November 3, 2023.
10           113.    On October 18, 2023, Sirius XM wrote a letter to the AAA stating that it would
11   not pay its arbitration fees.
12           114.    On November 8, 2023, the AAA administratively closed Mr. Braswell’s case
13   due to Sirius XM’s failure to pay its required arbitration fees.
14   Plaintiff Deborah Garvin
15           115.    Plaintiff Deborah Garvin has been a citizen and resident of the city of
16   Vancouver, in Clark County, Washington, since 2022. Prior to that, she was a citizen and

17   resident of Florida.
18           116.    In 2018, while living in Florida, Ms. Garvin leased a new car that came with a

19   free Sirius XM trial music plan subscription.
20           117.    After the free trial subscription expired, she received a call from a Sirius XM
21   agent who was trying to get her to sign up for a paid subscription. The agent that Ms. Garvin
22   spoke to offered her a paid subscription, where the first six months would be free, and she
23   would thereafter be charged a specific monthly rate for the music plan. The quoted and
24   promised price did not include the additional amount of the U.S. Music Royalty Fee, and the
25   agent also did not mention the existence of the U.S. Music Royalty Fee.
26           118.    Relying on the representations of the Sirius XM agent, Ms. Garvin provided her
27   credit card information to the agent and signed up for the music plan subscription.
28
     CLASS ACTION COMPLAINT - 27                                                    HATTIS & LUKACS
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1            119.    Approximately six months later, before she was charged at the higher rate, Ms.
2    Garvin canceled her subscription. After she canceled her subscription, she received a call from
3    a Sirius XM agent who was trying to get her to sign up for a subscription once again. The agent
4    that Ms. Garvin spoke to offered her a promotional monthly price for one of Sirius XM’s music

5    plans. The quoted and promised price did not include the additional amount of the U.S. Music
6    Royalty Fee, and the agent also did not mention the existence of the U.S. Music Royalty Fee.
7            120.    Relying on the representations of the Sirius XM agent, Ms. Garvin purchased
8    the monthly music plan subscription.
9            121.    Each month thereafter, Sirius XM silently and automatically charged
10   Ms. Garvin’s credit card, without giving her any email or mail notice whatsoever of the
11   upcoming monthly charges and without ever emailing or mailing her a single monthly billing
12   statement or invoice.
13           122.    Ms. Garvin stayed on this plan for the remainder of her time living in Florida.
14           123.    In 2022, Ms. Garvin moved to Washington. Shortly after her move, the lease on
15   her car ended and she returned it to a dealership. Ms. Garvin canceled her Sirius XM
16   subscription when she returned the car.

17           124.    Ms. Garvin then purchased a new car, which again came with a free Sirius XM
18   trial subscription.

19           125.    After the free trial subscription expired, she again received a call from a Sirius
20   XM agent who was trying to get her to sign up for a paid subscription. The agent that Ms.
21   Garvin spoke to offered her a specific promotional monthly price for one of Sirius XM’s music
22   plans. The quoted and promised price did not include the additional amount of the U.S. Music
23   Royalty Fee, and the agent also did not mention the existence of the U.S. Music Royalty Fee.
24           126.    Relying on the representations of the Sirius XM agent, Ms. Garvin purchased
25   the monthly music plan subscription.
26           127.    Each month thereafter, Sirius XM silently and automatically charged
27   Ms. Garvin’s credit card, without giving her any email or mail notice whatsoever of the
28
     CLASS ACTION COMPLAINT - 28                                                     HATTIS & LUKACS
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1    upcoming monthly charges and without ever emailing or mailing her a single monthly billing
2    statement or invoice.
3           128.    Each time that Ms. Garvin signed up for a Sirius XM music plan, she was
4    relying on Sirius XM’s explicit representations regarding the monthly price of the music plan.

5    Ms. Garvin did not expect (and she was never told) that Sirius XM would actually charge her
6    an additional music plan charge on top of the advertised and quoted music plan price in the
7    form of a so-called U.S. Music Royalty Fee or that the true price of the music plan would
8    include the additional cost of the U.S. Music Royalty Fee. That information would have been
9    material to her. Had she known that information she would not have been willing to pay as
10   much for her music plans and would have acted differently.
11          129.    Ms. Garvin has a legal right to rely now, and in the future, on the truthfulness
12   and accuracy of Sirius XM’s representations and advertisements regarding its music plan
13   prices. Ms. Garvin believes that she was given the services Sirius XM promised her—just not
14   at the prices Sirius XM promised and advertised to her.
15          130.    Ms. Garvin remains a Sirius XM subscriber as of this filing. Ms. Garvin desires
16   to sign up for Sirius XM music plans in the future. However, Ms. Garvin wants to be confident

17   that the advertised and quoted price for Sirius XM’s music plans is the true and full price for
18   the plan (i.e., that it includes all applicable discretionary monthly service charges such as the

19   U.S. Music Royalty Fee). And, if Sirius XM introduces any new or invented discretionary
20   monthly service charge (like it did with the U.S. Music Royalty Fee), Ms. Garvin wants to be
21   confident that Sirius XM will include the amount of that service charge in the advertised and
22   quoted music plan price. Ms. Garvin will be harmed if, in the future, she is left to guess as to
23   whether Sirius XM’s representations are accurate and whether there are omissions of material
24   facts regarding the music plans being advertised and represented to her.
25          131.    Ms. Garvin first learned of Sirius XM’s U.S. Music Royalty Fee scheme on
26   May 29, 2023, when she saw a legal investigation advertisement on the Hattislaw.com website
27   discussing the scheme. Prior to reading the investigation webpage, Ms. Garvin did not know or
28   suspect that Sirius XM was secretly adding an additional music plan charge above the quoted
     CLASS ACTION COMPLAINT - 29                                                     HATTIS & LUKACS
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1    rate in the form of the U.S. Music Royalty Fee. Ms. Garvin completed and submitted a form on
2    the investigation webpage that same day, May 29, 2023, to learn if she qualified to be part of
3    the legal actions.
4            132.    On June 1, 2023, Ms. Garvin sent Sirius XM a notice of dispute regarding her

5    claims concerning Sirius XM’s deceptive pricing and the U.S. Music Royalty Fee. Sirius XM
6    made no effort to resolve the dispute.
7            133.    On August 6, 2023, Ms. Garvin filed a demand for arbitration against Sirius XM
8    with the American Arbitration Association (“AAA”).
9            134.    Ms. Garvin paid all arbitration fees associated with her demand for arbitration
10   that the AAA asked her to pay.
11           135.    The AAA then asked Sirius XM to pay its required arbitration fees by
12   November 3, 2023.
13           136.    On October 18, 2023, Sirius XM wrote a letter to the AAA stating that it would
14   not pay its arbitration fees.
15           137.    On November 8, 2023, the AAA administratively closed Ms. Garvin’s case due
16   to Sirius XM’s failure to pay its required arbitration fees.

17   Plaintiff Thea Anderson
18           138.    Plaintiff Thea Anderson is, and at all relevant times has been, a citizen and

19   resident of the city of Spokane, in Spokane County, Washington.
20           139.    In mid-2022, Ms. Anderson purchased a car that came with a free three-month
21   Sirius XM music plan trial subscription.
22           140.    In late October, after her free trial subscription ended, Sirius XM called
23   Ms. Anderson to try to sign her up for a paid subscription. The Sirius XM agent offered her a
24   specific promotional price of $5.99 a month for 12 months for the Music & Entertainment
25   music plan. The quoted and promised $5.99 price did not include the additional amount of the
26   U.S. Music Royalty Fee. The agent also did not mention the existence of the U.S. Music
27   Royalty Fee.
28
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1           141.    Relying on the representations of the Sirius XM agent, Ms. Anderson purchased
2    the music plan subscription.
3           142.    In late 2023, Ms. Anderson called Sirius XM to ask for a better rate for the
4    music plan. The agent that she spoke to quoted her a specific price for the music plan. The

5    quoted and promised price did not include the additional amount of the U.S. Music Royalty
6    Fee, and the agent also did not mention the existence of the U.S. Music Royalty Fee.
7           143.    Relying on the representations of the Sirius XM agent, Ms. Anderson purchased
8    the music plan subscription.
9           144.    Sirius XM never emailed or mailed Ms. Anderson a single monthly billing
10   notice or invoice. Meanwhile, Sirius XM silently and automatically charged Ms. Anderson’s
11   credit card month after month.
12          145.    In early 2024, Ms. Anderson canceled her Sirius XM subscription.
13          146.    Each time that Ms. Anderson signed up for a Sirius XM music plan, she was
14   relying on Sirius XM’s explicit representations regarding the monthly price of the music plan.
15   Ms. Anderson did not expect (and she was never told) that Sirius XM would actually charge
16   her an additional music plan charge on top of the advertised and quoted music plan price in the

17   form of a so-called U.S. Music Royalty Fee or that the true price of the music plan would
18   include the 21.4% additional cost of the U.S. Music Royalty Fee. That information would have

19   been material to her. Had she known that information she would not have been willing to pay
20   as much for her music plans and would have acted differently.
21          147.    Ms. Anderson has a legal right to rely now, and in the future, on the truthfulness
22   and accuracy of Sirius XM’s representations and advertisements regarding its music plan
23   prices. Ms. Anderson believes that she was given the services Sirius XM promised her—just
24   not at the prices Sirius XM promised and advertised to her.
25          148.    Ms. Anderson desires to sign up for Sirius XM music plans in the future.
26   However, Ms. Anderson wants to be confident that the advertised and quoted price for Sirius
27   XM’s music plans is the true and full price for the plan (i.e., that it includes all applicable
28   discretionary monthly service charges such as the U.S. Music Royalty Fee). And, if Sirius XM
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1    introduces any new or invented discretionary monthly service charge (like it did with the U.S.
2    Music Royalty Fee), Ms. Anderson wants to be confident that Sirius XM will include the
3    amount of that service charge in the advertised and quoted music plan price. Ms. Anderson will
4    be harmed if, in the future, she is left to guess as to whether Sirius XM’s representations are

5    accurate and whether there are omissions of material facts regarding the music plans being
6    advertised and represented to her.
7            149.    Ms. Anderson first learned of Sirius XM’s U.S. Music Royalty Fee scheme on
8    May 15, 2023, when she saw a legal investigation advertisement on TopClassActions.com
9    discussing the scheme. Prior to reading the advertisement, Ms. Anderson did not know or
10   suspect that Sirius XM was secretly adding an additional music plan charge above the quoted
11   rate in the form of the U.S. Music Royalty Fee. Ms. Anderson completed and submitted a form
12   on the investigation webpage that same day, May 15, 2023, to learn if she qualified to be part
13   of the legal actions.
14           150.    On June 1, 2023, Ms. Anderson sent Sirius XM a notice of dispute regarding her
15   claims concerning Sirius XM’s deceptive pricing and the U.S. Music Royalty Fee. Sirius XM
16   made no effort to resolve the dispute.

17           151.    On August 6, 2023, Ms. Anderson filed a demand for arbitration against Sirius
18   XM with the American Arbitration Association (“AAA”).

19           152.    Ms. Anderson paid all arbitration fees associated with her demand for arbitration
20   that the AAA asked her to pay.
21           153.    The AAA then asked Sirius XM to pay its required arbitration fees by
22   November 3, 2023.
23           154.    On October 18, 2023, Sirius XM wrote a letter to the AAA stating that it would
24   not pay its arbitration fees.
25           155.    On November 8, 2023, the AAA administratively closed Ms. Anderson’s case
26   due to Sirius XM’s failure to pay its required arbitration fees.
27
28
     CLASS ACTION COMPLAINT - 32                                                    HATTIS & LUKACS
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1                                        CLASS ALLEGATIONS
2           156.    Plaintiffs Cindy Balmores, Justin Braswell, Deborah Garvin, and Thea Anderson
3    bring this lawsuit on behalf of themselves, and all others similarly situated, pursuant to Federal
4    Rules of Civil Procedure 23(a), (b)(2), and (b)(3).

5           157.    Washington Class Definition: Plaintiffs Cindy Balmores, Justin Braswell,
6    Deborah Garvin, and Thea Anderson seek to represent the following “Washington Class”:
7                   All current and former Sirius XM subscribers in Washington who paid
                    a “U.S. Music Royalty Fee” within the applicable statute of limitations.
8
9           158.    Florida Class Definition: Plaintiff Deborah Garvin also seeks to represent the
10   following “Florida Class”:
11                  All current and former Sirius XM subscribers in Florida who paid a
                    “U.S. Music Royalty Fee” within the applicable statute of limitations.
12
            159.    Application of the Discovery Rule. This Court should apply the discovery rule
13
     to extend any applicable limitations period and corresponding class period to the date on which
14
     Sirius XM first began charging the U.S. Music Royalty Fee—which, based on the investigation
15
     of Plaintiffs’ counsel, is in 2009. Plaintiffs and the Class could not have, with the exercise of
16
     reasonable diligence, learned of the accrual of their claims against Sirius XM at an earlier time
17
     because the nature of Sirius XM’s misconduct was non-obvious and intentionally concealed, as
18
     described throughout the Complaint and reiterated below.
19
            160.    First, none of Sirius XM’s advertisements for its music plans names or mentions
20
     the existence of the U.S. Music Royalty Fee or its amount—not even in the fine print.
21
     Likewise, none of Sirius XM’s advertisements states the true music plan price after adding the
22
     amount of the U.S. Music Royalty Fee. Reasonable consumers who viewed Sirius XM’s
23
     advertisements would not know or suspect that Sirius XM’s music plans were subject to a
24
     hidden double-charge for the music plan itself in the form of the U.S. Music Royalty Fee.
25
            161.    Second, Sirius XM does not disclose the U.S. Music Royalty Fee or its amount
26
     to subscribers when they sign up for music plans, as described in detail above at ¶¶ 34–56.
27
     Reasonable consumers would justifiably rely on Sirius XM’s explicit representations regarding
28
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1    the monthly prices of its music plans, and would reasonably believe that any extra charges
2    would only come from legitimate government fees or taxes.
3            162.   Notably, none of Sirius XM’s competitors charge any separate royalty fee over
4    and above their advertised music plan prices. Indeed, reasonable consumers would expect that

5    the advertised price for Sirius XM’s music plans would include the fundamental costs of
6    obtaining the permissions necessary to provide the music content that Sirius XM has promised
7    is included in those plans.
8            163.   Reasonable consumers would have no reason to suspect that Sirius XM was
9    actually charging them a hidden and disguised double-charge for the music plans in the form of
10   the U.S. Music Royalty Fee.
11           164.   Third, Sirius XM has implemented policies and practices which prevent its
12   subscribers from noticing that they are being charged the Fee or from discovering its true
13   nature. Sirius XM signs up subscribers for automatic renewal by default. Once consumers have
14   been lured to sign up, Sirius XM prevents them from learning about its scheme by never
15   thereafter sending them monthly or ongoing billing notices or invoices. All the while, Sirius
16   XM silently and automatically renews their subscriptions month after month and year after

17   year.
18           165.   Meanwhile, if the subscriber were to log into his or her customer account on the

19   Sirius XM website, the default view shows only the total amount due and does not list, let alone
20   explain, the U.S. Music Royalty Fee.
21           166.   Sirius XM also intentionally chose a name for the Fee that suggests it is a
22   government fee. Sirius XM calls it a “U.S.” fee to falsely indicate to consumers (i.e., to those
23   few subscribers who learn about its existence) that it is government mandated or a government
24   pass-through fee.
25           167.   Fourth, in the event that a subscriber happens to notice that the U.S. Music
26   Royalty Fee has been charged and contacts Sirius XM to inquire about the Fee, Sirius XM
27   agents outright falsely tell subscribers that the Fee is “government mandated” or is a
28   government pass-through fee, as documented above at ¶¶ 66–68. A reasonable consumer would
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1    take Sirius XM at its word and believe that the U.S. Music Royalty Fee was a government-
2    related fee. Thus, a reasonable consumer would not discover the true nature of the Fee or
3    discover Sirius XM’s deceptive pricing scheme even if they somehow learned of its existence
4    (however, the vast majority of subscribers never notice the existence of the Fee at all).

5           168.      Numerosity. The number of members of the Classes (the “Class members”) are
6    so numerous that joinder of all members would be impracticable. Plaintiffs do not know the
7    exact number of Class members prior to discovery. However, based on information and belief,
8    the Classes comprises millions of individuals. The exact number and identities of Class
9    members are contained in Sirius XM’s records and can be easily ascertained from those
10   records.
11          169.      Commonality and Predominance. This action involves multiple common legal
12   or factual questions which are capable of generating class-wide answers that will drive the
13   resolution of this case. These common questions predominate over any questions affecting
14   individual Class members, if any. These common questions include, but are not limited to, the
15   following:
16                    a.    Whether Sirius XM employed a uniform policy of charging the U.S.

17   Music Royalty Fee to Plaintiffs and Class members who subscribed to its music plans;
18                    b.    Whether Sirius XM’s policy and practice of advertising and quoting the

19   prices of its music plans without the amount of the U.S. Music Royalty Fee is false, deceptive,
20   or misleading;
21                    c.    Why did Sirius XM not include the amounts of the U.S. Music Royalty
22   Fee in the advertised and quoted prices for its music plans;
23                    d.    Whether Sirius XM adequately and accurately disclosed the existence of
24   the U.S. Music Royalty Fee, its nature or basis, or its amount, to Plaintiffs and Class members;
25                    e.    What is the nature or purpose of the U.S. Music Royalty Fee;
26                    f.    Whether it was deceptive, misleading, and/or false for Sirius XM to put
27   “U.S.” in the beginning of the name of the U.S. Music Royalty Fee;
28
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1                   g.      Whether the true prices of Sirius XM’s music plans, and of the U.S.
2    Music Royalty Fee, are material information, such that a reasonable consumer would find that
3    information important to the consumer’s purchase decision;
4                   h.      Whether Sirius XM has a policy and practice of signing up subscribers

5    for automatic renewal, but never thereafter sending the subscriber any monthly or ongoing
6    billing notices or invoices;
7                   i.      Whether Sirius XM has a policy of intentionally preventing subscribers
8    from noticing that they are being charged the Fee, including, but not limited to, Sirius XM’s
9    practice of signing up subscribers for automatic renewal but then never thereafter sending the
10   subscriber any monthly or ongoing billing notices or invoices;
11                  j.      Whether Sirius XM has a practice of falsely telling subscribers who
12   notice and inquire about the U.S. Music Royalty Fee that it is “government mandated” or is a
13   government pass-through fee;
14                  k.      Whether Sirius XM’s misrepresentations and misconduct alleged herein
15   violate the Washington Consumer Protection Act, RCW Chapter 19.86 (“CPA”);
16                  l.      Whether Sirius XM’s misrepresentations and misconduct alleged herein

17   violate the Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”); and
18                  m.      Whether Sirius XM has violated the covenant of good faith and fair

19   dealing, implied in its contracts with Plaintiffs and Class members, by imposing the U.S. Music
20   Royalty Fee in the manner alleged herein.
21          170.    Typicality. Plaintiffs’ claims are typical of Class members’ claims. Plaintiffs
22   and Class members all sustained injury as a direct result of Sirius XM’s standard practices and
23   schemes, bring the same claims, and face the same potential defenses.
24          171.    Adequacy. Plaintiffs and their counsel will fairly and adequately protect Class
25   members’ interests. Plaintiffs have no interests antagonistic to Class members’ interests and are
26   committed to representing the best interests of the Class members. Moreover, Plaintiffs have
27   retained counsel with considerable experience and success in prosecuting complex class action
28   and consumer protection cases.
     CLASS ACTION COMPLAINT - 36                                                   HATTIS & LUKACS
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1            172.    Superiority. A class action is superior to all other available methods for fairly
2    and efficiently adjudicating this controversy. Each Class member’s interests are small
3    compared to the burden and expense required to litigate each of his or her claims individually,
4    so it would be impractical and would not make economic sense for Class members to seek

5    individual redress for Sirius XM’s conduct. Individual litigation would add administrative
6    burden on the courts, increasing the delay and expense to all parties and to the court system.
7    Individual litigation would also create the potential for inconsistent or contradictory judgments
8    regarding the same uniform conduct. A single adjudication would create economies of scale
9    and comprehensive supervision by a single judge. Moreover, Plaintiffs do not anticipate any
10   difficulties in managing a class action trial.
11           173.    By its conduct and omissions alleged herein, Sirius XM has acted and refused to
12   act on grounds that apply generally to the Class members, such that declaratory relief is
13   appropriate respecting the Classes as a whole.
14           174.    Sirius XM is primarily engaged in the business of selling services. Each cause of
15   action brought by Plaintiffs against Sirius XM in this Complaint arises from and is limited to
16   statements or conduct by Sirius XM that consist of representations of fact about Sirius XM’s

17   business operations or services that are or were made for the purpose of obtaining approval for,
18   promoting, or securing sales of or commercial transactions in, Sirius XM’s services or the

19   statements are or were made in the course of delivering Sirius XM’s services. Each cause of
20   action brought by Plaintiffs against Sirius XM in this Complaint arises from and is limited to
21   statements or conduct by Sirius XM for which the intended audience is an actual or potential
22   customer or subscriber, or a person likely to repeat the statements to, or otherwise influence, an
23   actual or potential customer or subscriber.
24                                         CAUSES OF ACTION
25                                             COUNT I
                         Violation of the Washington Consumer Protection Act
26                                        RCW Chapter 19.86
27           175.    Plaintiffs Cindy Balmores, Justin Braswell, Deborah Garvin, and Thea Anderson
28   reallege and incorporate by reference all paragraphs previously alleged herein.
     CLASS ACTION COMPLAINT - 37                                                     HATTIS & LUKACS
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1           176.    Each Plaintiff brings this claim in his or her individual capacity, in his or her
2    capacity as a private attorney general seeking the imposition of public injunctive relief to
3    protect the general public, and as a representative of the Washington Class.
4           177.    The Washington Consumer Protection Act (the “CPA”), RCW 19.86, is

5    Washington’s principal consumer protection statute. The CPA broadly declares unlawful all
6    “[u]nfair methods of competition and unfair or deceptive acts or practices in the conduct of any
7    trade or commerce.” RCW 19.86.020.
8           178.    The CPA allows any person “who is injured in his or his business or property by
9    a violation of RCW 19.86.020” to bring an action to enjoin further violations and to recover
10   actual damages (which may be trebled), costs, and attorneys’ fees. RCW 19.86.090.
11          179.    Sirius XM engages in the conduct of trade or commerce. For example, and
12   without limitation, Sirius XM engages in the sale of its music service plans and engages in
13   commerce directly or indirectly affecting the people of Washington.
14          180.    By its conduct and omissions alleged herein, Sirius XM has committed unfair
15   methods of competition and/or unfair or deceptive acts or practices which directly or indirectly
16   affect the people of the State of Washington, and which caused injury to Plaintiffs and the

17   Class members’ business or property, including without limitation by:
18                  a.      Misrepresenting the prices of Sirius XM’s music plans and concealing

19   the true prices of its music plans, including by advertising or quoting prices that did not include
20   the U.S. Music Royalty Fee;
21                  b.      Failing to disclose the Fee—or to even mention the words “U.S. Music
22   Royalty Fee”—in any Sirius XM advertising, including in the fine print;
23                  c.      Failing to disclose or adequately disclose the existence, nature, and
24   amount of the U.S. Music Royalty Fee when consumers signed up for Sirius XM’s music plans;
25                  d.      Failing to ever adequately or accurately disclose the existence and nature
26   of the U.S. Music Royalty Fee to its subscribers;
27                  e.      Failing to disclose and misrepresenting the nature of the U.S. Music
28   Royalty Fee by disguising it as “Fees and Taxes”;
     CLASS ACTION COMPLAINT - 38                                                     HATTIS & LUKACS
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1                   f.      Signing up customers for automatic renewal by default but never
2    thereafter sending the customer any monthly or ongoing billing notices or invoices, thereby
3    further preventing its subscribers from discovering the U.S. Music Royalty Fee scheme;
4                   g.      Putting “U.S.” in the beginning of the name of the U.S. Music Royalty

5    Fee to falsely indicate to consumers that it is a government-related fee; and
6                   h.      Falsely stating to subscribers who discovered and inquired about the U.S.
7    Music Royalty Fee that it is “government mandated” or is a government pass-through fee.
8           181.    With respect to any omissions, Sirius XM at all relevant times had a duty to
9    disclose the information in question because, inter alia: (a) Sirius XM had exclusive knowledge
10   of material information that was not known to Plaintiffs and Class members; (b) Sirius XM
11   concealed material information from Plaintiffs and Class members; and (c) Sirius XM made
12   partial representations, including regarding the supposed price of its music plans, which were
13   false and misleading absent the omitted information.
14          182.    The acts and omissions of Sirius XM pled herein are injurious to the public
15   interest because said acts and omissions: (a) injured other persons in addition to Plaintiffs;
16   (b) had the capacity to injure other persons; or (c) has the capacity to injure other persons. See

17   RCW 19.86.093(3).
18          183.    The unlawful acts and omissions pled herein were committed in the course of

19   Sirius XM’s business. The unlawful acts and omissions pled herein were, are and continue to
20   be part of a pattern or generalized course of conduct. The acts and omissions of Sirius XM pled
21   herein were and are not reasonable in relation to the development and preservation of business.
22          184.    Sirius XM’s unlawful conduct was intended to, or had the capacity to, deceive a
23   substantial portion of the public.
24          185.    Further, under Washington law, “[t]he capacity of a marketing technique to
25   deceive is determined with reference to the least sophisticated consumers among us.” Keithly v.
26   Intelius, 764 F. Supp. 2d 1257, 1268 (W.D. Wash. 2011).
27
28
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1           186.    Sirius XM’s misrepresentations are material, in that a reasonable person would
2    attach importance to the information and would be induced to act on the information in making
3    purchase decisions.
4           187.    As a direct, substantial, and/or proximate result of Sirius XM’s unlawful

5    conduct, Plaintiffs and Class members suffered injury to their business or property.
6           188.    Plaintiffs and Class members reasonably relied on Sirius XM’s material
7    misrepresentations, and would not have purchased, or would have paid less money for, Sirius
8    XM’s music plans had they known the truth.
9           189.    By its conduct and omissions alleged herein, Sirius XM caused the demand for
10   its music plans to be artificially increased and caused all subscribers of those plans, including
11   Plaintiffs and Class members, to pay premiums to Sirius XM.
12          190.    Sirius XM’s conduct has caused substantial injury to Plaintiffs, Class members,
13   and the general public.
14          191.    Permanent injunctive relief. The Washington Supreme Court has repeatedly
15   held that consumers’ ability to enjoin unlawful business practices is a primary purpose of the
16   CPA.

17          192.    The Washington Supreme Court ruled in Hockley v Hargitt, 82 Wash.2d 337,
18   350–51 (1973) that:

19          ‘[T]he purpose of this [consumer protection] act is … to foster fair and honest
            competition .. To this end this act shall be liberally construed that its beneficial
20          purposes may be served.’ This broad public policy is best served by permitting
            an injured individual to enjoin future violations of RCW 19.86, even if such
21          violations would not directly affect the individual’s own private rights. If each
            consumer victim were limited to injunctive relief tailored to his own individual
22          interest, the fraudulent practices might well continue unchecked while a
            multiplicity of suits developed. On the other hand, if a single litigant is allowed to
23          represent the public and consumer fraud is proven, the multiplicity of suits is
            avoided and the illegal scheme brought to a halt. (Emphasis added.)
24
25          193.    The Washington Supreme Court held the following in Lightfoot v. MacDonald,
26   86 Wash.2d 331, 336–37 (1976):
27
            We think the evident purpose of the legislature in providing a private remedy in
28          RCW 19.86.170, was much the same as that which Congress expressed in providing

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1            for treble damage actions under the antitrust laws. Its purpose was to enlist the aid
             of private individuals damaged by acts or practices which were forbidden in
2            the acts, to assist in the enforcement of the laws. (Emphasis added.)
3
             194.    The Washington Supreme Court ruled in Scott v. Cingular Wireless, 160
4
     Wash.2d 843, 853 (2007) that consumers’ ability to enjoin unlawful business practices—both
5
     on behalf of a class of similarly situated consumers and for the benefit of the general public—is
6
     necessary to vindicate the purpose of the CPA:
7
             Private citizens act as private attorneys general in protecting the public’s interest
8            against unfair and deceptive acts and practices in trade and commerce. Lightfoot v.
             MacDonald, 86 Wash.2d 331, 335–36, 544 P.2d 88 (1976). Consumers bringing
9            actions under the CPA do not merely vindicate their own rights; they
             represent the public interest and may seek injunctive relief even when the
10           injunction would not directly affect their own private interests… Without class
             action suits the public’s ability to perform this function is drastically diminished.
11           (Emphasis added.)
12
             195.    The balance of the equities favors the entry of permanent injunctive relief
13
     against Sirius XM. Plaintiffs, the members of the Class, honest competing businesses, and the
14
     general public will be irreparably harmed from Sirius XM’s ongoing false advertising absent
15
     the entry of permanent injunctive relief against Sirius XM.
16
             196.    Plaintiffs lack an adequate remedy at law to prevent Sirius XM’s continued
17
     unlawful practices. Plaintiffs will be harmed in the future by their inability to rely on the
18
     truthfulness and accuracy of Sirius XM’s representations and advertisements regarding its
19
     music plan prices. Plaintiffs desire and intend to sign up for different Sirius XM music plans
20
     and/or to sign up for another promotional period or contract in the future. However, Plaintiffs
21
     want to be confident that the advertised and quoted price for Sirius XM’s music plans is the
22
     true and full price for the plan (i.e., that it includes all applicable discretionary service charges).
23
     And, if Sirius XM introduces any new discretionary service charge, Plaintiffs want to be
24
     confident that Sirius XM will include the amount of that service charge in the advertised and
25
     quoted music plan price. Plaintiffs will be harmed if, in the future, they are left to guess as to
26
     whether Sirius XM’s representations are accurate and whether there are omissions of material
27
     facts regarding the music plans being advertised and represented to them.
28
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1           197.    Monetary damages are not an adequate remedy at law for future harm. Clark v.
2    Eddie Bauer LLC, No. 21-35334, 2024 WL 177755, at *3 (9th Cir. Jan. 17, 2024). Monetary
3    damages are inadequate for future harm for the following reasons, without limitation: First,
4    damages are not an adequate remedy for future harm because they will not prevent Sirius XM

5    from continuing its unlawful conduct. Second, damages for future harm cannot be calculated
6    with certainty and thus cannot be awarded. For example, it is impossible to know: (a) what
7    music plan(s) Plaintiffs may want or need in the future; (b) what Sirius XM’s future U.S. Music
8    Royalty Fees will be (given that the Fee is calculated as a percentage of the quoted music plan
9    price, and given that Sirius XM has increased the percentage rate of the Fee over time); or
10   (c) how many months Plaintiffs would continue to subscribe to Sirius XM’s services. Because
11   these factors are unknown, damages are impossible to calculate and cannot be awarded for
12   future harm. Third, injunctive relief is necessary (and monetary damages do not provide a
13   plain, adequate and complete remedy) because, without forward-looking injunctive relief
14   enjoining the unlawful practices, the courts would be flooded with future lawsuits by the
15   general public, Class members, and Plaintiffs for future violations of the law by Sirius XM.
16          198.    Plaintiffs, on behalf of themselves and as private attorneys general, seek

17   public injunctive relief under the CPA to protect the general public from Sirius XM’s false
18   advertisements, misrepresentations, and omissions. Specifically, Plaintiffs seek a permanent

19   public injunction against Sirius XM under the CPA as follows: (1) enjoin Sirius XM from
20   falsely advertising the prices of its music plans to members of the general public; (2) enjoin
21   Sirius XM from advertising or quoting a music plan price to members of the general public if
22   that price does not include all applicable discretionary service charges (such as the U.S. Music
23   Royalty Fee); and (3) enjoin Sirius XM from representing to members of the public that the
24   U.S. Music Royalty Fee is a “government mandated” charge, a pass-through government
25   charge, a charge imposed to recover costs billed to Sirius XM by the government, a tax, or a
26   charge over which Sirius XM has no control.
27          199.    Sirius XM’s misconduct which affects the general public is ongoing in part or in
28   whole and even if such conduct were to cease, it is behavior that is capable of repetition or re-
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1    occurrence by Sirius XM absent a permanent injunction. Accordingly, Plaintiffs seek an order
2    enjoining Sirius XM from committing these practices which harm the general public.
3                                            COUNT II
          Violation of the Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”)
4                                   Fla. Stat. §§ 501.201, et seq.
5           200.     Plaintiff Deborah Garvin realleges and incorporates by reference all paragraphs
6    previously alleged herein.
7           201.     Ms. Garvin brings this claim in her individual capacity, in her capacity as a
8    private attorney general seeking the imposition of public injunctive relief to protect the general
9    public, and as a representative of the Florida Class.
10          202.     The Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”) allows any
11   person “who has suffered a loss as a result of a violation of this [Act]” to bring an action to
12   enjoin further violations and to recover actual damages, costs, and attorneys’ fees. Fla. Stat. §
13   501.211(1), (2); Fla. Stat. § 501.2105(1).
14          203.     Ms. Garvin is a “consumer” within the meaning of Fla. Stat. § 501.203(7).
15          204.     Sirius XM engaged in “trade or commerce” within the meaning of Fla. Stat.
16   § 501.203(8).

17          205.     FDUTPA prohibits “[u]nfair methods of competition, unconscionable acts or
18   practices, and unfair or deceptive acts or practices in the conduct of any trade or commerce….”

19   Fla. Stat. § 501.204(1).
20          206.     By its conduct and omissions alleged herein, Sirius XM has committed unfair
21   methods of competition and/or unfair or deceptive acts or practices in violation of the
22   FDUTPA, including without limitation by:
23                   a.     Misrepresenting the prices of Sirius XM’s music plans and concealing
24   the true prices of its music plans, including by advertising or quoting prices that did not include
25   the U.S. Music Royalty Fee;
26                   b.     Failing to disclose the Fee—or to even mention the words “U.S. Music
27   Royalty Fee”—in any Sirius XM advertising, including in the fine print;
28
     CLASS ACTION COMPLAINT - 43                                                     HATTIS & LUKACS
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1                   c.      Failing to disclose or adequately disclose the existence, nature, and
2    amount of the U.S. Music Royalty Fee when consumers signed up for Sirius XM’s music plans;
3                   d.      Failing to ever adequately or accurately disclose the existence and nature
4    of the U.S. Music Royalty Fee to its subscribers;

5                   e.      Failing to disclose and misrepresenting the nature of the U.S. Music
6    Royalty Fee by disguising it as “Fees and Taxes”;
7                   f.      Signing up customers for automatic renewal by default but never
8    thereafter sending the customer any monthly or ongoing billing notices or invoices, thereby
9    further preventing its subscribers from discovering the U.S. Music Royalty Fee scheme;
10                  g.      Putting “U.S.” in the beginning of the name of the U.S. Music Royalty
11   Fee to falsely indicate to consumers that it is a government-related fee; and
12                  h.      Falsely stating to subscribers who discovered and inquired about the U.S.
13   Music Royalty Fee that it is “government mandated” or is a government pass-through fee.
14          207.    With respect to any omissions, Sirius XM at all relevant times had a duty to
15   disclose the information in question because, inter alia: (a) Sirius XM had exclusive knowledge
16   of material information that was not known to Ms. Garvin and Florida Class members;

17   (b) Sirius XM concealed material information from Ms. Garvin and Florida Class members;
18   and (c) Sirius XM made partial representations, including regarding the supposed price of its

19   music plans, which were false and misleading absent the omitted information.
20          208.    The unlawful acts and omissions pled herein were committed in the course of
21   Sirius XM’s business. The unlawful acts and omissions pled herein were, are and continue to
22   be part of a pattern or generalized course of conduct. The acts and omissions of Sirius XM pled
23   herein were and are not reasonable in relation to the development and preservation of business.
24          209.    Sirius XM’s unlawful conduct was intended to, or had the capacity to, deceive a
25   substantial portion of the public.
26          210.    Sirius XM’s misrepresentations are material, in that a reasonable person would
27   attach importance to the information and would be induced to act on the information in making
28   purchase decisions.
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1           211.    As a result of Sirius XM’s unlawful conduct, Ms. Garvin and Florida Class
2    members have suffered a loss.
3           212.    Ms. Garvin and Florida Class members reasonably relied on Sirius XM’s
4    material misrepresentations, and would not have purchased, or would have paid less money for,

5    Sirius XM’s music plans had they known the truth.
6           213.    By its conduct and omissions alleged herein, Sirius XM caused the demand for
7    its music plans to be artificially increased and caused all subscribers of those plans, including
8    Ms. Garvin and Florida Class members, to pay premiums to Sirius XM.
9           214.    Sirius XM’s conduct has caused substantial injury to Ms. Garvin, Florida Class
10   members, and the general public.
11          215.    Permanent injunctive relief. The balance of the equities favors the entry of
12   permanent injunctive relief against Sirius XM. Ms. Garvin, Florida Class members, honest
13   competing businesses, and the general public will be irreparably harmed from Sirius XM’s
14   ongoing false advertising absent the entry of permanent injunctive relief against Sirius XM.
15          216.    Ms. Garvin, on behalf of herself and as a private attorney general, seeks
16   public injunctive relief under the FDUTPA to protect the general public from Sirius XM’s false

17   advertisements, misrepresentations, and omissions. Specifically, Ms. Garvin seeks a permanent
18   public injunction against Sirius XM under the FDUTPA as follows: (1) enjoin Sirius XM from

19   falsely advertising the prices of its music plans to members of the general public; (2) enjoin
20   Sirius XM from advertising or quoting a music plan price to members of the general public if
21   that price does not include all applicable discretionary service charges (such as the U.S. Music
22   Royalty Fee); and (3) enjoin Sirius XM from representing to members of the public that the
23   U.S. Music Royalty Fee is a “government mandated” charge, a pass-through government
24   charge, a charge imposed to recover costs billed to Sirius XM by the government, a tax, or a
25   charge over which Sirius XM has no control.
26          217.    Sirius XM’s misconduct which affects the general public is ongoing in part or in
27   whole and even if such conduct were to cease, it is behavior that is capable of repetition or re-
28
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1    occurrence by Sirius XM absent a permanent injunction. Accordingly, Ms. Garvin seeks an
2    order enjoining Sirius XM from committing these practices which harm the general public.
3
                                               COUNT II
4                     Breach of the Implied Covenant of Good Faith and Fair Dealing

5              218.    Plaintiffs reallege and incorporate by reference all paragraphs previously alleged
6    herein.
7              219.    Plaintiffs allege this cause of action in the alternative.
8              220.    To the extent any applicable contract could be read as granting Sirius XM
9    discretion to impose the U.S. Music Royalty Fee—which Plaintiffs do not concede—that
10   discretion is not unlimited, but rather is limited by the covenant of good faith and fair dealing
11   implied in every contract by Washington law and by Florida law.
12             221.    Sirius XM has violated the covenant of good faith and fair dealing by its conduct
13   alleged herein.
14             222.    Sirius XM has abused any discretion it purportedly had under any applicable
15   contract to impose the U.S. Music Royalty Fee on Plaintiffs and Class members. For example:
16                     a.      Sirius XM imposes the U.S. Music Royalty Fee as a covert way to

17   charge subscribers higher rates for its music plans without having to advertise such higher
18   rates;

19                     b.      Sirius XM does not include the amount of the U.S. Music Royalty Fee in
20   the advertised and quoted prices for its music plans;
21                     c.      Sirius XM fails to disclose the Fee—or to even mention the words
22   “U.S. Music Royalty Fee”—in any Sirius XM advertising, including in the fine print;
23                     d.      Sirius XM fails to disclose and misrepresents the nature of the U.S.
24   Music Royalty Fee by disguising it as “Fees and Taxes”;
25                     e.      None of Sirius XM’s competitors charge any separate royalty fee over
26   and above the advertised music plan price, such that Sirius XM knows that reasonable
27   consumers would not expect Sirius XM to charge the U.S. Music Royalty Fee. Sirius XM
28   knows that reasonable consumers would expect that the advertised price for Sirius XM’s music
     CLASS ACTION COMPLAINT - 46                                                        HATTIS & LUKACS
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1    plans would include the fundamental costs of obtaining the permissions necessary to provide
2    the music content that Sirius XM has promised is included in those plans;
3                   f.     In order to prevent subscribers from noticing they are being charged the
4    U.S. Music Royalty Fee, Sirius XM has a policy and practice of signing up subscribers for

5    automatic renewal by default and never thereafter sending the subscriber any monthly or
6    ongoing billing notices or invoices;
7                   g.     Sirius XM put “U.S.” in the beginning of the name of the U.S. Music
8    Royalty Fee to falsely indicate to consumers that it is a government-related fee; and
9                   h.     Sirius XM has a practice of falsely telling customers who notice and
10   inquire about the U.S. Music Royalty Fee that it is “government mandated” or is a government
11   pass-through fee.
12          223.    Sirius XM’s imposition of the U.S. Music Royalty Fee defied Plaintiffs’ and
13   Class members’ reasonable expectations, was objectively unreasonable, and frustrated the basic
14   terms of the parties’ agreement. Sirius XM’s conduct and actions alleged herein were done in
15   bad faith.
16          224.    Sirius XM’s conduct described herein has had the effect, and the purpose, of

17   denying Plaintiffs and Class members the full benefit of their bargains with Sirius XM.
18          225.    Plaintiffs and Class members have performed all, or substantially all, of the

19   obligations imposed on them under any applicable agreements with Sirius XM. There is no
20   legitimate excuse or defense for Sirius XM’s conduct.
21          226.    Any attempts by Sirius XM to defend its overcharging through reliance on
22   supposed contractual provisions will be without merit. Any such provisions are either
23   inapplicable or are unenforceable because they are void, illusory, lacking in mutuality, are
24   invalid exculpatory clauses, violate public policy, are procedurally and substantively
25   unconscionable, and are unenforceable in light of the intentional, deceptive and hidden nature
26   of Sirius XM’s misconduct, among other reasons. Any such provisions, if any, would not
27   excuse Sirius XM’s abuses of discretion or otherwise preclude Plaintiffs and Class members
28   from recovering for breaches of the covenant of good faith and fair dealing.
     CLASS ACTION COMPLAINT - 47                                                    HATTIS & LUKACS
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1           227.    Plaintiffs and Class members sustained damages as a result of Sirius XM’s
2    breaches of the covenant of good faith and fair dealing.
3           228.    Plaintiffs and Class members seek damages in the amount of the U.S. Music
4    Royalty Fees paid by Plaintiffs and Class members.

5                                       PRAYER FOR RELIEF
6    Public Injunctive Relief:
7           A.      In order to prevent injury to the general public, Plaintiffs individually, and as
8    private attorneys general, request that the Court enter a public injunction against Sirius XM as
9    follows:
10                  1.      Permanently enjoin Sirius XM from falsely advertising the prices of its
11   music plans and from concealing the true prices of its music plans in its advertising;
12                  2.      Permanently enjoin Sirius XM from advertising or quoting a music plan
13   price to members of the general public if that price does not include the amount of the U.S.
14   Music Royalty Fee;
15                  3.      Permanently enjoin Sirius XM from advertising or quoting a music plan
16   price to members of the general public if that price does not include all applicable discretionary

17   service charges;
18                  4.      Permanently enjoin Sirius XM, including Sirius XM’s sales agents, from

19   representing or stating to members of the general public that the U.S. Music Royalty Fee is any
20   of the following: (a) a “government mandated” fee; (b) a government pass-through fee; (c) a
21   charge imposed to recover costs billed to Sirius XM by the government; (d) a tax; or (e) a
22   charge over which Sirius XM has no control; and
23                  5.      Retain jurisdiction to monitor Sirius XM’s compliance with the
24   permanent public injunctive relief requested hereinabove.
25   Individual And Class Relief:
26          B.      On behalf of themselves and the proposed Classes (the “Class members”),
27   Plaintiffs request that the Court order relief and enter judgment against Sirius XM as follows:
28                  1.      Declare this action to be a proper class action, certify the proposed
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1    Classes, and appoint Plaintiffs and their counsel to represent the Washington Class and appoint
2    Ms. Garvin and her counsel to represent the Florida Class;
3                    2.     Order that the discovery rule applies to extend any applicable limitations
4    period and the corresponding class period for Plaintiffs and the Classes to the date on which

5    Sirius XM first began charging the U.S. Music Royalty Fee (which, based on the investigation
6    of Plaintiffs’ counsel, is 2009);
7                    3.     Declare that Sirius XM’s conduct alleged herein violates the CPA;
8                    4.     Order Sirius XM to pay actual damages to Plaintiffs and Washington
9    Class members in an amount to be determined at trial but which is more than $5 million,
10   pursuant to, without limitation, RCW 19.86.090;
11                   5.     For an increase in the award of actual damages to Plaintiffs and
12   Washington Class members of up to treble the actual damages pursuant to, without limitation,
13   RCW 19.86.090;
14                   6.     Declare that Sirius XM’s conduct alleged herein violates the FDUTPA;
15   and
16                   7.     Order Sirius XM to pay actual damages to Ms. Garvin and Florida Class

17   members in an amount to be determined at trial but which is more than $5 million, pursuant to,
18   without limitation, Fla. Stat. § 501.211(2).

19   Other Relief:
20          C.       On behalf of themselves and the proposed Classes, and in their capacities as
21   private attorneys general, Plaintiffs request that the Court order relief as follows:
22                   1.     Order Sirius XM to pay attorneys’ fees, costs, and pre-judgment and
23   post-judgment interest to the extent allowed by law; and
24                   2.     Grant such other relief as this Court deems just and proper.
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     CLASS ACTION COMPLAINT - 49                                                     HATTIS & LUKACS
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1                                   DEMAND FOR JURY TRIAL
2          Plaintiffs demand trial by jury on all issues so triable.
3
4          Respectfully submitted on June 21, 2024, by:

5                                                 HATTIS & LUKACS
6                                                 By: _________________________
                                                      Daniel M. Hattis
7
8                                                 By: _________________________
                                                      Paul Karl Lukacs
9
                                                  By: _________________________
10                                                    Che Corrington

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21
                                                  Attorneys for Plaintiffs
22                                                and the Proposed Classes
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